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                 Exhibit A
EEOC Form 5 ('11109)
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                        CHRncr             or   D rscRrMrNATtoN                                             Charge Presented             To:               Agency(ies)Charge No(s)
              This form is affected by the Privacy Actol 1974. See enclosed Privacy Act                                    FEPA
                     Statement and other information before completing this form.
                                                                                                                  X        EEOC

                                                          lllinois Depa rtment of Human Riqhts                                                                               and EEOC
                                                                            State or local Agency, if any
Name (rndlcafe Mr., Ms.,                                                                                                   Home Phone (lncl. Area Code)                         of Birth
Dr. T             sid      u    M.D.                                                                                                                                                   947
Street Address                                                                     City, State and ZIP Code                       i,


1335 N. Astor           St. #138                                                   Chicago, lL 60610
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or t-oc4{l6ovbrnment'Agency                                                 That I Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICULARS below.)
Name                                                                                                                       No. Employees, Members                               Area Code)
Northwestern Medical Group f/Ua Northwestern Medical Faculty Foundation,                                                                         ,   ,l:           [t,i'T"w"
                                                                                                                                                                    ,l
Northwestern University Feinberg School Of Medicine, Northwestern University,                                                          $51,:ir                   ( 3 2',)   69 5-6609
Northwestern Memorial Healthcare
Street Address                                                                     City, State and ZIP Code
21 E. Ontario St.. Suite 1800                                                      Chicaqo. lL 60611
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                  Earliest                                    Latest

                                                                          RELIGION
                                                                                                  NATIONAL                   November 1,2013                             July 1, 2019
           RACE                COLOR                SEX
                                                                                                  ORIGIN                      (approximate)
                                                                                              GENETIC
                 RETALIATION           X    AGE              DISABILITY


                 n
                                                                                              INFORMATION
                 OTHER (Specify)
                                                                                                                                                           CONTINUING ACTION
                 FMLA see below
THE PARTICULARS ARE (lf additional paper is needed, attadh extra sheet(s)):
    I am a physician-scientist,   internationally recognized as an expert in neuromuscular disease and a pioneering world-
    renowned neurogeneticist who has discovered multiple causative genes for the inherited form of amyotrophic lateral
    sclerosis (ALS), commonly known as Lou Gehrig's disease. My research has been continuously funded by the National
    Institutes of Health G,{IH) since 1985, and I have 160 peer-reviewed publications, hundreds of abstracts, given dozens of
    invited seminars, and published several book chapters to my credit. I have received all the major national and
    international awards for ALS research, and I have been recognized as Top Doctor (Chicago Magazine and Castle
    Connolly) consecutively for the last 18 years.

    On or about August 9, 1990, I received a formal offer of employment from Northwestern University Feinberg School of
    Medicine ('NU Feinberg"). NU Feinberg is a medical school owned, operated, and controlled by Northwestern
    University ('\IU"). In or about November 1990, I accepted and signed a contract of employment with Northwestern
    Medical Faculty Foundation ('\IMFF"), the clinical arm of NU Feinberg to become effective on January 1,199I.

    Northwestern Medical Group        ('NMG") is the successor to NMFF. Northwestern Memorial HealthCare ('NMHC") is
    the healthcare      ann of NU, is the umbrella or parent co{poration of NMG, and is closely affrliated with NU Feinberg.
    Accordingly, NU Feinberg, lrIIJ, NMFFAIMG, and NMHC (collectively, the'Northwestem Employers") were my joint-
    employer during the relevant time period for the pulposes of Title VII and the ADEA. I have been continuously
    employed in good standing with the Northwestern Employers from January 1, l99l to the present, and I am currently a
    tenured professor. The contact information for the Northwestern Employers is attached hereto as Exhibit A.

    I am now 72 years old. Since 2013, the Northwestern Employers have discriminated against me based on age with
    respect to the terms, conditions, and privileges of my employment. [See additional page]

I want this charge filed with both the EEOC and the State or local Agency, if        any.     I   NOTARY    -   When necessary for State and Local Agency Requirements
will advise the agencies if     I
                               change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their                 I swear or affirm that I have read the above charge and that it is true to
procedures.
                                                                                                  the best of my               lnformation and belief
I   declare under penalty of perjury that the above is true and corect.
                                                                                                  st

                                                                                                  XX


           23     dfi                                                                                                      SWORN TO                           IS DATE




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                                                                                          1
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fContinued from previous page]

Specifically, by funding cuts and interference with and redirection                         of my funding for   research,
experiments, staffing, andlor laboratory and clinical work, the Northwestern Employers have tried to set
me up for failure by making my job responsibilities virtually impossible to perform at the highest level.
From 2013 to the present, my long-standing established responsibilities have been systematically reduced
or eliminated, among other things.

In or about 2016, the Chair of the NU Feinberg Department of Neurology announced at a department
meeting that I had been "put out to pasture." Shortly thereafter, the Chair sent an email to the entire NU
Feinberg neurology faculty informing that he was actively looking to fill my position. I was blindsided
by this email, as the job search had not been discussed with me and I was unaware that the Northwestern
Employers were seeking my replacement.

Although my employment conkact provides that I shall "(d)irect the Neuromuscular Disorders program
having direct supervision of the Les Turner Foundation Lois Insolia ALS Clinic, the Les Turner
Foundation ALS Research Program, and the Department's muscle histochemical laboratory", in2016,the
Northwestem Bmployers - again, without my advance knowledge - advertised for an academic
neurologist to becomc Director of a ncw Lcs Turncr ALS Rcscarch and Paticnt Ccntcr. This job scarch
effectively sought to eliminate my position, responsibility, and authority. In 2017, the Northwestern
Employers hired a new Director of the Division of Neuromuscular Medicine, previously the
Neuromuscular Program/Division, and Director of the new Les Turner ALS Center, making him
responsible, instead of me, for the Les Tumer ALS Foundation relationships and the neuromuscular
clinics. The new Director is younger than me, and he has had far fewer contributions to ALS,
neuromuscular research, and patient care than me. On July 1, 20l9,the Northwestern Employers further
discriminated against me by reducing my pay.

The Northwestern Employers' actions are in direct conflict with both my employment contract and the
applicable rules governing the treatment of tenured professors. I am now 7I years old, and I believe the
Northwestern Employers targeted me for a salary reduction and engaged in the other aforementioned acts
of discrimination against me because of my age.

I   declare under penalty of perjury that the above is true and correct.




                                   J                tb
                                                                           Charging Party
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                                                Exhibit A

After conducting a reasonable investigation, including reviewing publically available information, upon
information and belief, the contact information for the Northwestern Employers is as follows:


                                      No.
                                                                                Street Address
          Employer                 Employees,         Phone No.
                                                                          City, State and ZIP Code
                                    Members
                                                   (847) 491-374r               633 Clark St.
   Northwestern Un ivers ity           50+
                                                   (847) 491-s60s            Evanston,IL 60208
   Northwestern Memorial                                                 21 E. Ontario St., Suite 1800
                                       50+         (3r2) 69s-6609
          Healthcare                                                          Chicaeo.   IL   60611
Northwestern Medical Group
                                                                         21 E. Ontario St., Suite 1800
 f/k/a Northwestem Medical             50+         (3r2) 69s-6609
                                                                              Chicago, IL 60611
      FaculW Foundation
   Northwestern University                                                    420 E. Superior St.
                                       50+         (3t2) s03-8194
Feinbers School Of Medicine                                                   Chicaeo. IL 60611
